                       UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF WISCONSIN
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ALEKSEY RUDERMAN,
ARTURO SALDIVAR,
CHRIS POCKNELL,

                       Plaintiffs,
                                                                   CASE NO. 23cv1336
v.

KENOSHA COUNTY,
KENOSHA COUNTY SHERIFF’S DEPARTMENT,
DAVID G. BETH, ROBERT HALLISY,
LARRY APKER, MARC LEVIN,
JUSTIN MILLER, and
LT. BILL BETH,

                       Defendants.


                          NOTICE OF SPECIAL APPEARANCE


       PLEASE TAKE NOTICE that Attorney Remzy D. Bitar appears on behalf of Defendants,

in the above-entitled action, objecting to the jurisdiction of the court and appearing specially

without waiving challenges to the sufficiency of jurisdiction, service, or the Court’s competency

to proceed due to lack of service, and hereby request copies of all proceedings in this action

subsequent to the Summons and Complaint to be served upon us.

       Dated this 6th day of November, 2023.

                                            MUNICIPAL LAW & LITIGATION
                                            GROUP, S.C.
                                            Attorneys for Kenosha County, Kenosha County
                                            Sheriff’s Department, David G. Beth, Robert
                                            Hallisy (Special Appearance), Larry Apker, Marc
                                            Levin, Justin Miller, and Bill Beth.

                                            By: /s/ Electronically signed by Remzy D. Bitar
                                                   REMZY D. BITAR




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